             Case 1:19-cv-11003-IT Document 65-4 Filed 12/13/19 Page 1 of 6




                                 Ex. D
ICE Policy 10036.1: Interim Guidance Relating to Officer Procedure Following Enactment of VAWA 2005
                                            (Jan. 22, 2007)
Case 1:19-cv-11003-IT Document 65-4 Filed 12/13/19 Page 2 of 6
Case 1:19-cv-11003-IT Document 65-4 Filed 12/13/19 Page 3 of 6
Case 1:19-cv-11003-IT Document 65-4 Filed 12/13/19 Page 4 of 6
Case 1:19-cv-11003-IT Document 65-4 Filed 12/13/19 Page 5 of 6
Case 1:19-cv-11003-IT Document 65-4 Filed 12/13/19 Page 6 of 6
